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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 OMAR GHASSAN,

                Plaintiff,

         v.                                            Civil Action No. 21-cv-3252 (FYP)

 JOSEPH BIDEN, et al.,

                Defendants.


                                             ORDER
        On December 17, 2021, Plaintiff Omar Ghassan filed an Amended Complaint against

defendants Joseph Biden, FBI Director Christopher Wray, the Department of Homeland

Security, Secretary of Homeland Security Alejandro Mayorkas, the FBI Director Las Vegas

Office, and the Las Vegas Police Department. See ECF No. 4. Plaintiff claims that defendants

are targeting him and attempting to kill him and his family. Id. On February 8, 2022, Defendant

Las Vegas Police Department filed a Motion to Dismiss plaintiff’s complaint pursuant to Federal

Rule of Civil Procedure 12(b)(1). See ECF No. 8. Because Plaintiff is proceeding pro se, the

Court subsequently issued an order advising Plaintiff of his obligation to respond to Defendant’s

Motion to Dismiss, under the Federal Rules of Civil Procedure and the local rules of this Court,

and setting the deadline of February 23, 2022, for Plaintiff to file his response. See Order, dated

February 9, 2022 (citing Fox v. Strickland, 837 F.2d 507, 509 (D.C. Cir. 1988); Neal v. Kelly,

963 F.2d 453, 456 (D.C. Cir. 1992)). The Court further cautioned Plaintiff that failure to respond

could result in the Court granting the Motion as conceded. Id. At a hearing on February 23,

2022, the Court extended the time for Plaintiff to respond to the Motion to Dismiss to March 2,

2022.
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        Plaintiff neither filed an opposition to Defendant’s Motion to Dismiss, nor requested an

extension of time to respond to the Motion, within the time allowed in the Court’s Order. Local

Civil Rule 7(b) provides if a memorandum in opposition to a party’s motion is not filed within

the prescribed time, “the Court may treat the motion as conceded.” Rule 7(b) “is a docket-

management tool that facilitates efficient and effective resolution of motions.” Texas v. United

States, 798 F.3d 1108, 1113 (D.C. Cir. 2015) (quoting Fox v. Am. Airlines, Inc., 389 F.3d 1291,

1294 (D.C. Cir. 2004)). “The Court need not provide notice before enforcing the rule or offer a

party an opportunity to explain its failure to comply.” Vemuri v. Napolitano, 771 F. Supp. 2d 27,

28 (D.D.C. 2011) (citing Fox, 389 F.3d at 1295).

        Given Plaintiff’s failure to respond to Defendant’s Motion, pursuant to Local Civil Rule

7(b), it is hereby

        ORDERED that defendant’s Motion to Dismiss is GRANTED as conceded.
        SO ORDERED.


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                                                     FLORENCE Y. PAN
                                                     United States District Judge

Date: March 8, 2022
